Case 2:05-cr-20231-.]DB Document 7 Filed 07/21/05 Page 1 of 2 Page|D 5

UNITED sTATEs DISTRICT CoURT Flf»i'ilf’ m Fl‘-G-
WESTERN DISTRICT OF TENNESSEE r_ t
Western Division 50 JUl. 2l Al*l 8‘ lB
UNITED STATES OF AMERICA
h i.‘,!.‘"'" l"`\ `\'? 1"'
-vs- Case Nii“.l `Z:liSclEjil§i§l-B

MARCUS TALLEY

 

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justiee Aet (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Publie Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

° A]l purposes including trial and appeal

, a
DoNE and 0RDERED in 167 North Main, Memphis, this 0?0 f day ofJuiy, 2005.

nw t aaa

DIANE K. VESCOVO
UNITED STATES MAGISTRATE .lUDGE

Copies furnished to:

United States Attomey

United States Marshal

Pretrial Serviees Off'lce

Assistant Federal Public Defender

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 7 in
case 2:05-CR-20231 Was distributed by f`aX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Katrina U. Earley

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167 N. Main St.

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Honorable J. Breen
US DISTRICT COURT

